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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA, et al,
Plaintiffs,
Vv. Civil Action No.: 1:23-cv-10511-WGY

JETBLUE AIRWAYS CORPORATION and
SPIRIT AIRLINES, INC.,

Defendants.

[PROPOSED] SCHEDULING AND CASE MANAGEMENT ORDER
1. Case Schedule. Unless otherwise specified, days will be computed according to
Federal Rule of Civil Procedure 6(a). The Parties agree that no motions to dismiss, motions for
judgment on the pleadings, or motions for summary judgment will be filed. The Court hereby

adopts the following schedule:

Parties’ Joint Statement on Case Schedule

The Parties are largely in agreement with respect to the proposed case schedule.
However, for the small number of disputed issues that still remain, the Parties have included

below the proposed case schedule a concise explanation of their respective positions.

Parties’ Proposed Schedule

Event Date

Fact discovery begins March 17, 2023

Date by which any other parties shall be joined | April 4, 2023
or the pleadings amended

Parties serve preliminary trial fact witness list May 1, 2023
and list of experts that they intend to call

Close of fact discovery June 28, 2023

Parties exchange final trial witness lists June 30, 2023
(including experts)

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Close of supplemental fact discovery (see July 31, 2023
Paragraph 9)
Deadline to file Summary Judgment Motions! August 1, 2023

Parties exchange initial deposition designations

August 3, 2023

Parties exchange deposition counter-
designations

August 10, 2023

Parties exchange initial exhibit lists

August 17, 2023

Parties to meet and confer on confidentiality
procedures for trial evidence

August 18, 2023

Parties submit proposed order (or competing
orders) concerning procedures for treatment of
competitively sensitive information at trial

August 21, 2023

Each Party informs each non-party of all
documents produced by that non-party that are
on that Party’s exhibit list and all depositions of
that non-party that have been designated by any
Party

August 22, 2023

Parties exchange draft sections of pretrial
memorandum, including objections (based on
evidentiary issues and confidentiality) to exhibits
and deposition designations

September 1, 2023

Parties exchange revised exhibit list at noon ET

September 8, 2023

Parties file any motions in limine

September 11, 2023

Joint Pretrial Memorandum to be filed

September 15, 2023

Oppositions to any motions in limine September 20, 2023
Replies to any oppositions to motions in limine___| September 26, 2023
Trial Briefs pursuant to L.R. 16.5(f) October 9, 2023
Parties submit final trial exhibits to Court October 16, 2023
Trial begins October 16, 2023
Plaintiffs’ Proposed Expert Discovery Defendants’ Proposed Expert Discovery
Schedule

Schedule

Plaintiffs’ \nitial Expert
Report(s)

July 6, 2023 (backup
materials 1 day later)

Parties’ Initial Expert
Report

July 6, 2023
(backup materfals 1
day |

Defendants’ Rebuttal
Expert Report(s) to
Initial Expert Report(s)

August 3, 2023
(backup materials 1
day later)

Parties’ Rebuttal rt
Report(s) to Initial
Expert Report(s

Atigust 10, 2023

backup materials |
day ater

Plaintiffs’ Reply Expert
Report(s) to Rebuttal

Expert Report(s)

August 25, 2023
(backup materials 1
day later)

No y Reports

N/A

| All parties have agreed to waive motions for summary judgment.
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Chase of expe Sorte p eek Close of expert August 31, 2023
disco discovery”
Plaintiffs’ Position on Expert Discovery Defendants’ Position on Expert Discovery
Schedule

Schedule

Sequential expert reports: Plaintiffs’ proposed
sequence of expert reports—Plaintiffs’ report(s),

then Defendants’ rebuttal(s), then Plaintiffs’
reply or replies—is appropriate because it
reflects Plaintiffs’ ultimate burden to prove that
Defendants’ proposed merger is unlawful.
Plaintiffs’ proposed report sequence follows the
case in this District challenging JetBlue’s
Northeast Alliance with American Airlines, see
ECF 76 at 2, United States v. American Airlines
Grp., Inc. and JetBlue Airways Corp., No. 21-
cv-11558-LTS (D. Mass.}, and scheduling orders
in many recent merger cases, see, e.g., ECF 46 at
2, United States v. ASSA ABLOY AB, No. 22-cv-
2791 (D.D.C.); ECF 42 at 3-4, United States v.
UnitedHealth Grp. Inc., No. 22-cv-481 (D.D.C.);
ECF 70 at 7, United States v. U.S. Sugar Corp.,
No. 21-cv-1644 (D. Del.); see also ECF 71 at 2,
United States v. U.S. Airways Grp., Inc., No. 13-
cv-1236 (D.D.C.) (setting deadlines for
plaintiffs’, then defendants’, then “supplemental
and/or rebuttal” reports in airline merger case).

Reply report(s): Defendants’ proposal to limit
expert reports to two simultaneous rounds would
frustrate the purpose of expert discovery by
preventing the experts from fully joining issue
on areas of dispute—under Defendants’
proposed schedule, Defendants’ expert(s) will
file opening report(s) without knowing what they
are disputing, and Plaintiffs’ expert(s) will never
be able to respond to critiques of their analysis.
Defendants’ proposed schedule also leaves 21
days of expert discovery after rebuttal report(s).
This time would better be used to sharpen the
issues with a reply.

As this Court did in Ford v. Takeda Pharm.
U.S.A., Inc., the Court should grant Plaintiffs’

Simultaneous exchange of expert reports:
Defendants propose to have two simultaneous

exchanges of expert reports (an opening and
rebuttal, with the opening by both sides being
full initial reports), rather than three rounds of
non-simultaneous disclosures as Plaintiffs
propose. Defendants’ proposal would:

a. make the best use of time to conduct
expert discovery, which is significant
in this expedited merger case;

b. allow each side two reports, thus
ensuring Defendants and Plaintiffs
have an equal opportunity to express all
opinions and respond to the other side’s
expert(s), and

c. eliminate the frequent dispute over
whether Plaintiffs’ reply expert report
has “new” analyses, thus entitling
Defendants to a rebuttal report.

Defendants’ proposal is consistent with Fed. R.
Civ. P. 26(a)(2)(D) and simultaneous
exchanges that occurred in merger and airline
matters involving DOJ, as well as in matters
before this Court. See, e.g., U.S. v.
Bertelsmann SE & Co. KGaA et al., No. 21-
2886-FYP (D.D.C.), ECF No. 53; U.S. v.
United Cont’l Holdings, Inc. et al., No. 2:15-
cv-07992-WHW-CLW (D.N.J.), ECF No. 24;
Bio-Rad Lab’ys, Inc. v. 10X Genomics, Inc.,
No. 1:19-cv-12533-WGY (D. Mass.), ECF No.
39,

Plaintiffs’ assertion that Defendants’ proposal
would deprive Plaintiffs’ expert(s) of any
opportunity to submit a reply underscores why
the simultaneous exchange proposed by
Defendants is superior. Defendants’ proposal

2 All parties must make their experts available for deposition by this date for the close of expert discovery.

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request for expert reply report(s) in light of
Plaintiffs’ burden of proof. ECF 62 at 9-10, No.
21-cv-10090-WGY (D. Mass.). Other cases
cited by Defendants are unavailing to them
because the CMO in Bertelsmann provided for
reply reports, see ECF 69 at 2, No. 21-cv-2886
(D.D.C.), and in Bio-Rad, which involved patent
claims and antitrust counterclaims, the parties
agreed to “[s]upplemental . . . [rJeports.” ECF
230 at 1-2, No. 19-cv-12533-WGY (D. Mass.).

Close of expert discovery: Plaintiffs ask for a
schedule that allows for development of this case
with the benefit of full expert discovery. The
schedule is sufficiently expedited and
appropriately considers the observance of
national holidays. Defendants, whose previous
request for trial a week after Labor Day
anticipated the time exigencies of this case, will
be able to conduct depositions during the

Aug. 26-Sept. 8 period.

provides both sides an equal opportunity to
respond to the other side’s expert(s). Indeed, if
Plaintiffs’ proposal is accepted, Defendants
would be in the very place Plaintiffs now
complain is unfair (i.e., where Plaintiffs submit
a reply to which no response is allowed).
Finally, Plaintiffs’ protests about not being
able to submit a reply could be addressed by
having three rounds of simultaneous
submissions, a proposal previously made by
Defendants that Plaintiffs rejected.

The Ford case cited by Plaintiffs is inapposite
because no party was seeking simultaneous
expert reports, and defendants were trying to
limit plaintiffs to a single report.

Close of expert discovery: Because
Defendants propose only two rounds of expert

reports (rather than three), the Parties can
complete expert depositions and any remaining
expert discovery in advance of the Labor Day
holiday, rather than the week of the holiday.
Under Defendants’ proposal, the Parties would
have 21 days from the submission of the
rebuttal reports, until August 31, 2023, to
conduct expert depositions and complete
expert discovery. In addition, Defendants’
proposed schedule would provide the parties
with sufficient time to account for expert
depositions when they submit revised exhibit
lists (September 8), in imine motions
(September 11), and the Joint Pre-Trial
Memorandum (September 15).

Plaintiffs’ Proposed Date Certain for Post-
Trial Briefing and Oral Closing Arguments

Defendants’ Proposed Date Certain for
Post-Trial Briefing and Oral Closing

PoseaT Proposed To be set at the fin
findings of fact an peso rence;
conclusions of law to b after y>

filed 2023

Arguments
Post-trial proposed November 17, 2023
findings of fact and
conclusions of law to be
filed

er l,
Oral closing arguments | Next business day
following the close of
evidence

ing arguments November 20,2625"
t the Court’s

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convenience after
submission of post-
trial proposed
findings of fact and
conclusions of law

Plaintiffs’ Position on Date Certain for Post-
Trial Briefing and Oral Closing Arguments

Defendants’ Position on Date Certain for
Post-Trial Briefing and Oral Closing
Arguments

Because pre-trial submissions will likely clarify
the key factual and legal issues for resolution by
the Court, Plaintiffs propose to defer setting the
schedule for post-trial submissions until the final
pre-trial conference. If the Court, however,
prefers to set a deadline for proposed findings of
fact and conclusions of law now, Plaintiffs
respectfully request that such deadline be set for
on or after December 1, 2023. The “outside
date” chosen by Defendants for consummation
of their merger is not until July 24, 2024.
Plaintiffs’ proposal takes into account the need
to submit briefing and related materials to the
Court as soon as possible, but balances that
against the need to provide the parties—
including eight Plaintiffs—sufficient time to
review, synthesize, and summarize effectively
what will be a lengthy transcript and voluminous
record. Plaintiffs defer to the Court regarding
the date of closing arguments, but would prefer
it be scheduled the first business day following
the presentation of evidence or as soon thereafter
as the Court's schedule permits.

This is an expedited merger matter where the
parties’ and public interest favor a decision by
the end of the year or as soon as practicable.
To help facilitate a speedy resolution and allow
the parties and the Court to plan ahead,
everyone benefits from a fully set schedule.
Thus, Defendants seek to include a date for
post-trial submissions and closing arguments.
Defendants also respectfully submit that
conducting closing arguments after the parties’
post-trial submissions is beneficial because the
Court will have all of the factual and legal
disputes before it in written form at the time
the parties are making their closing arguments.

The so-called “outside date,” which is the day
by which the Proposed Transaction must be
closed to avoid termination of the agreement,
does not provide a reason to delay an
otherwise expedited case schedule. To the
extent the “outside date” has any relevance, it
supports Defendants’ proposal for prompt
post-trial briefing and argument, which will
allow the Court sufficient time to render a
decision and still leave time for appeal. In
addition, the Department of Transportation
(DOT) is proposing to conduct a separate and
wholly unprecedented additional review of the
merger to be commenced after a final decision
is rendered in this case. While Defendants
dispute the DOT’s basis and proposed timing
for such a proceeding, it nevertheless creates
the potential for additional proceedings and
delay after the Court renders a judgment here.

Moreover, it is not necessary to wait for a trial
to “clarify the key factual and legal issues”
before setting post-trial deadlines, as Plaintiffs

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claim. Trial will provide no clarification on
the schedule—the only issue in dispute. In any
event, the DOJ conducted a year-long
investigation, under a frequently litigated

| statute, and served a complaint identifying the
relevant factual and legal issues. There is no
reason to not set all of the deadlines now, other
than to try to create delay.

2. Service of Complaint. Counsel for Defendants, acting on behalf of Defendants,
have accepted service of the Complaint and have waived formal service of a summons.

3. Discovery Conference. The Parties’ prior consultations, submissions to the
Court on March 20, 2023, and submission of this [Proposed] Order satisfy the Parties’
obligations under Federal Rule of Civil Procedure 26(f) and Local Rule 16.1(b).

4, Completion of Proposed Transaction. Defendants have agreed that they will
not close, consummate, or otherwise complete the Proposed Transaction until 12:01 a.m. on the
10th day following the entry of the judgment by the Court in this matter, and only if the Court
enters an appealable order that does not prohibit consummation of the transaction. For purposes
of this Order, “Proposed Transaction” means the proposed acquisition of Spirit Airlines, Inc. by
JetBlue Airways Corporation.

5. Jurisdiction and Venue. Defendants have consented to personal jurisdiction and
venue in this Court.

6. Discovery of Confidential Information. The Court has entered a protective
order governing the discovery and production of confidential information in this action (ECF No.
66) (the “Protective Order”). A copy of the Protective Order shall be included with any
subpoenas served on non-parties.

7. Attorney Communications. The Parties need not preserve nor produce in

discovery the following categories of documents: (a) documents sent solely between outside

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counsel for Defendants (or persons employed by or acting on behalf of such counsel) or solely
between counsel for Plaintiffs (or persons employed by the U.S. Department of Justice or
Plaintiff States’ Offices of the Attorney General); and (b) documents that were not directly or
indirectly furnished to any non-Party, such as internal memoranda, authored by Defendants’
outside counsel (or persons employed by or acting on behalf of such counsel) or by counsel for
Plaintiffs (or persons employed by the U.S. Department of Justice or Plaintiff States’ Offices of
the Attorney General).

8. Initial Disclosures. The Parties, having agreed to a mutual exchange of
investigative materials, have therefore agreed to waive the exchange of disclosures under Federal
Rule of Civil Procedure 26(a)(1).

9. Timely Service of Fact Discovery and Supplemental Discovery. All discovery,
including discovery served on non-parties, must be served in time to permit completion of
responses by the close of fact discovery. However, notwithstanding any other provision of this
Order, each Party may issue supplemental discovery requests, including document requests for
custodial files and deposition notices, related to any person identified on a Party’s final trial
witness list who was not identified on that Party’s preliminary trial witness list within 7 days of
receipt of final trial witnesses lists; provided, however, that (i) no additional depositions may be
sought from any person who was previously deposed during this action (not including
depositions pursuant to Civil Investigative Demands) and (ii) no additional document requests
may be served on any person that was previously a custodian. The deadline for supplemental
discovery related to new witnesses in Paragraph | shall apply; provided, however, that the
Parties may agree to reasonable modifications to that deadline. Notwithstanding any other

deadlines in this Order, a Party may take limited discovery related to the authenticity of any
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document on that Party’s exhibit list to which the opposing side objects on the ground that such
document is inauthentic.
10. Written Discovery on Parties.

(a) Document Requests. There is no limit on the number of requests for the
production of documents that may be served by the Parties. The Parties must serve any
objections to requests for productions of documents within 7 business days after the requests are
served, Within 3 business days of service of any objections, the Parties must meet and confer to
attempt to resolve in good faith any objections and to agree on custodians to be searched. The
Parties must make good-faith efforts to make rolling productions of responsive productions (to
the extent not subject to any objections or custodian issues that have not been resolved) no later
than 14 days after service of the request for production. The Parties must make good-faith
efforts to substantially complete production of documents, data, or data compilations no later
than 28 days after service of the requests for production and must make good-faith efforts to
complete production within 40 days after service of the requests for production, unless otherwise
extended by agreement between the Parties. In accordance with Local Rule 26.1(c), Plaintiffs
collectively may serve two separate sets of requests for production on each Defendant, and
Defendants collectively may serve two sets of requests for the production on each Plaintiff.
Given the expedited schedule for fact discovery, any second set of requests for production must
be served no later than 30 days before the close of fact discovery and must be limited to (a)
requests seeking information or documents that such Party did not reasonably know to request in
a first set of requests for production (e.g., related to information discovered during the course of
a deposition or public announcements by a Party), or (b) “go get” requests for production not

calling for custodial review. Notwithstanding Local Rule 26.1(c), if any Party seeks additional
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documents or information following a second set of requests for production based on newly
obtained information that such Party could not have reasonably known to request prior to service
of the second set of requests for production, the Parties shall meet-and-confer in good faith.

(b) Data Requests. In response to any requests to which data or data
compilations are responsive, the Parties will meet and confer in good faith regarding the requests
and, as needed, will seek prompt assistance from employees knowledgeable about the content,
storage, and production of data.

(c) Interrogatories. This Order expressly modifies Local Rule 26.1(c) such
that Interrogatories are limited to 10 by Plaintiffs collectively to Defendants and to 10 by
Defendants collectively to Plaintiffs. Subparts shall be governed by Local Rule 26.1(c). The
Parties must serve any objections to interrogatories within 7 business days after the
interrogatories are served, Within 3 business days of service of any objections, the Parties must
meet and confer to attempt to resolve the objections. Parties shall fully respond to interrogatories
no later than 28 days after service of the interrogatories.

(d) Requests for Admission. This Order expressly modifies Local Rule
26.1(c) such that Requests for Admission are limited to 10 by Plaintiffs collectively to
Defendants and to 10 by Defendants collectively to Plaintiffs. Subparts shall be governed by the
provision of Local Rule 26.1(c) concerning interrogatory subparts. The Parties must serve any
objections to requests for admission within 7 business days after the requests are served. Within
3 business days of service of any objections, the Parties must meet and confer to attempt to
resolve the objections. Parties shall make good-faith efforts to fully respond to requests for

admission no later than 28 days after service of the requests.
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11. Document Subpoenas to Non-Parties. The Parties will in good faith cooperate
with each other with regard to any discovery to non-parties in an effort to minimize the burden
on non-parties. Each Party must serve a copy of any subpoena to a non-party on the other Parties
at the same time as the subpoena is served on the non-party. Every subpoena to a non-party shall
include a cover letter requesting that (a) the non-party Bates-stamp each document with a
production number and any applicable confidentiality designation prior to producing it; and
(b) the non-party provide to the other Parties copies of all productions at the same time as they
are produced to the requesting Party. If a non-party fails to provide copies of productions to the
other Parties, the requesting Party shall provide such copies to the other Parties, in the format the
productions were received by the requesting Party, within 3 business days of the requesting Party
receiving such materials from the non-party. In addition, if a non-Party produces documents or
electronically stored information that are not Bates-stamped, the Party receiving those materials
shall request that the non-party Bates-stamp all documents or electronically stored information
and produce such Bates-stamped copies to all Parties simultaneously. Within 2 business days of
any agreement with a non-party, each Party must provide the other Parties with a copy of any
written communication (including email) with any non-party concerning any modifications,
extensions, or other negotiations concerning the non-party’s response to the subpoena, or in the

case of an oral modification, a written record summarizing the oral modification.

Plaintiffs’ Proposal Defendants’ Proposed Additional
po Language in Paragraph 11 Regarding
Disputes with Subpoena Recipients

The Parties shall use best efforts to ensure
that this Court handles ail third-party
discovery disputes. This will streamline the
litigation, avoid delays in other jurisdictions,
offer predictability and consistency in
discovery rulings, and help inform the Court

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on the relevant issues. As a result, where any
Party seeks the Court’s intervention in a
discovery dispute involving a third party, it
shall join the third party in communications
with the Court to set a hearing. Where a third
party files a discovery motion in a different
court, Plaintiffs or Defendants shall inform
that court of this Order and seek transfer here.

Plaintiffs’ Position

Defendants’ Position

Defendants’ proposal for all disputes
concerning third-party subpoenas served on
non-parties in other districts to be heard in
this District is contrary to the Federal Rules of
Civil Procedure, which appropriately balance
non-parties’ interests and address non-party
disputes on a case-by-case basis. Under Rule
45, motions to compel and motions to quash
or modify a subpoena are to be heard in “the
court for the district where compliance is
required.” Fed. R. Civ. P. 45(d). The Court
should not adopt Defendants’ proposal to
categorically undermine this rule, especially
as any court presiding over a non-party
dispute can be advised of the discovery
schedule. Non-party discovery disputes
should proceed as envisioned by Rule 45
unless “the person subject to the subpoena
consents or if the court finds exceptional
circumstances.” Fed. R. Civ. P. 45(f). In the
absence of a concrete dispute with a non-party
(like the disputes that arose in the FTC/Meta
litigation before the order on which
Defendants rely), Defendants cannot satisfy
the “exceptional circumstances” standard.
Defendants’ proposal is also flawed because it
seeks to bind non-parties, impacts how other
courts in other districts construe their
jurisdiction, and conscripts Plaintiffs into
supporting hypothetical future motions to
transfer.

Defendants have served over 30 third-party
subpoenas for documents on entities located
in twenty different states or territories.
Plaintiffs have also started serving document
subpoenas on non-parties (thus far on a subset
of the entities whom Defendants have served).
The parties have agreed that fact discovery
would close on June 28, 2023—which leaves
twelve weeks for completing meet and
confers, producing documents, engaging in
any motion practice regarding the document
subpoenas, and deposing some of the third
parties. Thus, having a streamlined subpoena
enforcement process is important; and having
consistent subpoena enforcement under this
Court’s supervision will ensure the Court is
presented with the evidence that will help in
the decision on the merits. This type of order
is consistent with Rule 45. In fact, it is the
same order Judge Boasberg recently entered
in the FTC’s antitrust lawsuit against Meta
pending in the United States District Court for
the District of Columbia. Based on the
proceedings in the Meta case, it appears that
this order was both efficient and effective in
reducing the number of disputes with non-
parties. Of the dozens of subpoenas issued in
that case, just a handful have resulted in
motion practice. Further, this order would not
prejudice Plaintiffs in any way; non-party
disputes would be handled efficiently,
consistently, and in Plaintiffs’ chosen venue.

Following a case-by-case basis, as Plaintiffs
propose, will only lead to delay. Moreover,

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their quotation of the Rules is inapposite. The
Rules expressly allow for one Court to hear
all non-party subpoena disputes, and that is all
that Defendants request. So Plaintiffs’ claim
that they would bind non-parties and impact
how other courts in other districts construe
their jurisdiction, simply disagrees with the
Rule. Finally, Plaintiffs’ move to make
subpoena enforcement more difficult
prejudices Defendants. Over its yearlong
investigation, DOJ took significant non-party
discovery; Defendants have taken none.
Thus, making subpoena enforcement will
have significant detrimental impact on
Defendants, and no impact on DOJ. Simply
stated, DOJ already took its non-party
discovery. That is why Plaintiffs are willing
to agree to nationwide service of trial
subpoenas, so they can drag any witness to
this Court for trial, but then they
inconsistently claim it is unfair for non-party
subpoena enforcement to work the same way.

12. Depositions.

(a) Number. Each side is limited to 30 fact depositions of witnesses. The
following depositions do not count against the deposition cap imposed by the preceding
sentences: (i) depositions of any persons identified on a Party’s final trial witness list who were
not identified on that Party’s preliminary trial witness list; (ii) depositions of the Parties’
designated expert witnesses; (iii) depositions taken in response to Civil Investigative Demands;
and (iv) depositions taken for the sole purpose of establishing the location, authenticity, or
admissibility of documents produced by any Party or non-party, provided that such depositions
may be noticed only after the Party taking the deposition has taken reasonable steps to establish
location, authenticity, or admissibility through other means, and further provided that such
depositions must be designated at the time that they are noticed as being taken for the sole

purpose of establishing the location, authenticity, or admissibility of documents.

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(b) Scheduling. The Parties shall use reasonable efforts to reduce the burden
on witnesses noticed for depositions and to accommodate the witnesses’ schedules. Depositions
shall be conducted in-person in the locations where witnesses reside or are employed, unless the
noticing Party or Parties and the witness mutually agree otherwise; provided, however, that any
deposition of a witness under the Parties’ control must take place in the United States. If a Party
serves a non-Party a subpoena for the production of documents or electronically stored
information and a subpoena commanding attendance at a deposition, the Party serving those
subpoenas must schedule the deposition for a date at least 7 business days after the return date
for the document subpoena, and if the Party serving those subpoenas agrees to extend the date of
production for the document subpoena in a way that would result in fewer than 7 business days
between the extended production date and the date scheduled for that non-party’s deposition, the
date scheduled for the deposition must be postponed to be at least 7 business days following the
extended production date, unless all other Parties consent to fewer than 7 business days.

(c) Time. Except as provided in this paragraph, depositions of fact witnesses
are limited to no more than one day of 7 hours on the record unless agreed by the witness or
ordered by the Court. A Plaintiff noticing a deposition may cede some or all of its examination
time to another Plaintiff. A Defendant noticing a deposition may cede some or all of its
examination time to another Defendant. During non-party depositions, the non-noticing side will
receive at least two hours of examination time. If a non-party deposition is noticed by both
sides, then time will be divided equally between the sides, and the deposition of the non-party
will count as one deposition for both sides. Pursuant to Federal Rule of Civil Procedure 30(d),
because Defendants are negotiating divestiture agreements with one or more divestiture buyers,

whose testimony is likely to be material to multiple issues on which different sides bear the

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burden of proof, the length of depositions of divestiture buyers or their employees noticed by
both sides is extended to 10 hours on the record, divided equally between the sides, and may be
continued through a second day if agreed with the deponent in advance, to permit both sides to
fairly examine the deponent; provided, however, that this shall not preclude such a deponent
from seeking a shorter deposition after meeting and conferring with the noticing Parties.

(d) Objections. Any objection made by any Party in a deposition preserves
that objection for every Party.

(e) CID Depositions. Any Party may further depose any person whose
deposition was taken pursuant to a Civil Investigative Demand (“CID”), and the fact that such
person’s deposition was taken pursuant to a CID may not be used as a basis for any Party to
object to that person’s deposition. Depositions taken pursuant to CID may be used at trial if
admissible under the Federal Rules of Civil Procedure.

(f) Rule 30(b)(6) Depositions. Plaintiffs may issue two notices per
Defendant of that Defendant’s deposition pursuant to Rule 30(b)(6) of the Federal Rules of Civil
Procedure, for a total of 7 hours on the record per each deposition, regardless of whether
Defendants designate more than one witnesses to testify on their behalf. Plaintiffs must serve
any second notice of a Defendant’s deposition under Rule 30(b)(6), which must be limited to
topics that Plaintiffs did not include in the first notice and that otherwise has not been addressed
through other deposition testimony, no later than 30 days before the close of fact discovery.
Where a witness testifying on behalf of a Defendant under Rule 30(b)(6) has also been noticed as
a fact witness, the Parties shall confer regarding whether it is reasonable to take both depositions

on the same day. Each deposition of a Party to be taken under Federal Rule of Civil Procedure

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30(b)(6) counts as one deposition for the purpose of the limit in Paragraph 12(a), regardless of
the number of witnesses produced to testify on the matters for examination in that deposition.

13. Previously Served Discovery Requests. For purposes of calculating deadlines
under this Order, any discovery requests served prior to the entry of this Order shall be deemed
to have been served on the later of the date of the March 21, 2023 scheduling conference and the
date actually served.

14. Discovery from Northeast Alliance Litigation. Documents and other discovery
materials produced in United States et al. v. American Airlines Group Inc. and JetBlue Airways
Corporation, Case No. 1:21-cv-11558 (D. Mass.) (the “NEA Case”), may be used in this action
as though they were produced in this action.

15. | Discovery from Executive-Branch Agencies. Defendants having sought
discovery from various federal and state executive branch agencies pursuant to Rule 45
subpoenas, the time periods in Paragraph 10 of this Order for discovery on Parties shall not apply
to discovery requests to such agencies (other than the U.S. Department of Justice and Plaintiff
States’ Offices of the Attorney General), regardless of the form of the requests.

16. ESI Specifications. Parties shall produce all documents and ESI in accordance
with the U.S. Department of Justice’s Standard Specifications for Production of ESI, except
when producing documents and ESI received from non-parties. Parties need not produce
voicemail messages, except in the case where they are contained within a Party’s e-mail system.
With regard to productions by Defendants to Plaintiffs, the deduplication protocol remains in
effect as in any production during the Investigation.

17. Privilege Logs.

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(a) ‘Timing of Privilege Logs. Parties shall serve any privilege logs 30 days
following substantial completion of production of documents responsive to any set of document
requests. Any documents determined not to be privileged during the preparation of privilege
logs will be produced on a rolling basis and must be produced no later than service of the
corresponding privilege log.

(b) Contents of Privilege Logs. Other than as identified in Paragraph 17(e),
documents that are responsive to requests for production and that have been withheld or redacted
on the basis of any claim of privilege and/or work product protection must be reflected on the
Parties’ privilege logs. Privilege logs shall identify for each document for which the Party
claims privilege: (i) whether the document is being withheld or redacted; (ii) all claims of
privilege and/or attorney work product applicable to the document withheld or redacted; (iii) a
description of the specific subject matter of the document or communication not produced or
disclosed in a manner that, without revealing information itself privileged or protected, will
enable other Parties, and the Court to evaluate the applicability of the privilege; and (iv) the
following non-privileged metadata: all authors, addressees, and recipients of the document;
subject line (if an email) or the file name (if non-email); date of the document; type of document
(e.g., .pdf, Excel, msg); Bates range; family Bates range if applicable; and custodian(s). Each
privilege log will be produced along with a separate index containing an alphabetical list (by last
name) of each name on the privilege log, identifying titles (for Party employees), company
affiliations, the members of any group or email list on the log where practicable (e.g., the Board
of Directors), and any name variations used in the privilege log for the same individual.

(c) Identification of Legal Personnel on Privilege Logs. For each entry of

any privilege log, all attorneys acting in a legal capacity with respect to that particular document

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or communication will be marked with the designation ESQ after their names (include a space
before and after the “ESQ”). Further, the Parties shall identify all persons working in a legal
capacity with respect to the withheld material other than attorneys, e.g., paralegals, and legal
secretaries who appear on the privilege log.

(d) Claw-Back Privilege Logs. In the event that a Party seeks the return of
previously produced documents on the basis of privilege (“Claw-Back”), as permitted by the
Protective Order and Paragraph 18 of this Order, the disclosing Party must provide written notice
and take all reasonable measures to retrieve the improperly disclosed material. The disclosing
Party must also provide a privilege log corresponding to the respective Clawed-Back documents,
consistent with this Paragraph.

(e) Documents Presumptively Excluded from Privilege Logs. The parties
agree that the following privileged or otherwise protected communications may be excluded
from privilege logs:

i. documents or communications sent solely between counsel for the
Defendants (or persons employed by or acting on behalf of such counsel) after July 28, 2022;

ii. documents or communications sent solely between outside counsel
for either Defendant (or persons employed by or acting on behalf of such counsel) and that
Defendant;

ili. documents or communications sent solely among inside counsel
(acting in a purely legal capacity) for a Defendant;
iv. documents or communications sent solely between counsel for

Plaintiffs (or persons employed by or acting on behalf of such counsel);

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v. documents authored by Defendants’ outside counsel (or persons
employed by or acting on behalf of such counsel) or by counsel for Plaintiffs (or persons
employed by or acting on behalf of such counsel), that were not directly or indirectly furnished
to any non-Party, such as internal memoranda;

vi. documents or communications sent solely between counsel for
Plaintiffs (or persons employed by or acting on behalf of such counsel) and counsel for any non-
Plaintiff state (or persons employed by or acting on behalf of such counsel) up to the date that
such non-Plaintiff state informed any Plaintiff that it would not join the complaint;
vii. documents or communications sent solely between counsel for
Plaintiffs and any Executive Branch agency of the United States;
viii. documents or communications not relating to the Proposed
Transaction or any investigation into and/or oversight of the Proposed Transaction sent solely
between persons employed by executive branch agencies and withheld solely under the
deliberative process privilege;
ix. privileged draft contracts that were not directly or indirectly
furnished to any non-party; and
X. privileged draft regulatory filings and draft litigation filings.
xi. non-responsive, privileged documents attached to responsive
documents.
To the extent multiple Plaintiffs (e.g., the U.S. Department of Justice and Plaintiff States’
Offices of the Attorney General) are on a given document, and that document is not
presumptively excluded from privilege logs pursuant to this paragraph, that document need only

be logged once and not by all Plaintiffs.

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18. Inadvertent Production of Privileged or Work-Product Documents or
Information. Pursuant to Federal Rule of Evidence 502(d), the production of a document or
information subject to a claim of attorney-client privilege, work-product immunity, or any other
privilege or immunity under relevant federal case law and rules does not waive any claim of
privilege, work product, or any other ground for withholding production to which the Party
producing the documents or information otherwise would be entitled, provided that (a) the
production was inadvertent; (b) the Party producing the documents or information used
reasonable efforts to prevent the disclosure of documents or information protected by the
attorney-client privilege, work-product immunity, or any other privilege or immunity; and (c) the
Party producing the documents or information promptly took reasonable steps after discovering
the inadvertent disclosure to rectify the error, including following Federal Rule of Civil
Procedure 26(b)(5)(B).

19. Presumptions of Authenticity. Documents and data produced by Parties and
non-parties from their own files in this action or the NEA Case will be presumed to be authentic
within the meaning of Federal Rule of Evidence 901. Any good-faith objection to authenticity
must be provided with the exchange of other objections to intended trial exhibits. If the
opposing side serves a specific good-faith written objection to authenticity, the presumption of
authenticity will no longer apply and the Parties will promptly meet and confer to attempt to
resolve any objection. Any objections that are not resolved through this means or the discovery
process will be resolved by the Court.

20. Expert Witness Disclosures and Depositions. Expert disclosures, including
each side’s expert reports, must comply with the requirements of Federal Rule of Civil Procedure

26(a)(2) and 26(b)(4), except as modified by this paragraph. The expert report phasing and

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procedural deadlines contained within this Order are not intended to change or impact in any

way the formal legal burdens applicable to any Party.

(a) Neither side must preserve or disclose, including in expert deposition testimony,

the following documents or information:

(i)

(ii)

(iii)

(iv)

any form of oral or written communications, correspondence, or work

product not relied upon by the expert in forming any opinions in his or her

final report shared:

(A) between either side’s counsel and that side’s testifying or non-
testifying expert(s);

(B) between any agent or employee of either side’s counsel and that
side’s own testifying or non-testifying expert(s);

(C) between testifying and non-testifying experts;

(D) between non-testifying experts; or

(E) between testifying experts;

any form of oral or written communications, correspondence, or work

product not relied upon by the expert in forming any opinions in his or her

final report shared between experts and any persons assisting the expert;

the expert’s notes, except for notes of interviews participated in or

conducted by the expert, if the expert relied upon such notes in forming

any opinions in his or her final report;

drafts of expert reports, affidavits, or declarations; and

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(v) data formulations, data runs, data analyses, or any database-related
operations not relied upon by the expert in forming any opinions in his or
her final report.

(b) = The Parties agree that the following materials will be disclosed:

(i) all final reports;

(ii) a list by bates number of all documents relied upon by the testifying
expert(s) in forming any opinions in his or her final reports;

(iii) | copies of any materials relied upon by the expert not previously produced
that are not readily available publicly;

(iv) a list of all publications authored by the expert in the previous 10 years
and copies of all publications authored by the expert in the previous 10
years that are not readily available publicly;

(v) a list of all other cases in which, during the previous 4 years, the expert
testified at trial or by deposition, including tribunal and case number; and

(vi) forall calculations appearing in the final reports, all data and programs
underlying the calculations (including all programs and codes necessary to
replicate the calculations from the initial (“raw”) data files and the
intermediate working-data files that are generated from the raw data files
and used in performing the calculations appearing in the final report) and a
written explanation of why any observations in the raw data were either
excluded from the calculations or modified when used in the calculations.

Each expert will be deposed for only one day of 7 hours on the record with all 7 hours

reserved for the side noticing the expert’s deposition; provided, however, that counsel for a Party

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may additionally take reasonable and appropriate redirect examination of that Party’s expert(s).

Depositions of each side’s experts will be conducted only after disclosure of all expert reports

and all of the materials identified in Paragraph 20(b) of this Order for all of that side’s experts.
21. Witness List.

(a) Preliminary Lists. Plaintiffs collectively are limited to 20 persons
(excluding experts) on their preliminary trial witness list, and Defendants collectively are limited
to 20 persons (excluding experts) on their preliminary trial witness list. The preliminary witness
lists must include the name, employer, address, and telephone number of each witness. With
respect to third parties for which depositions are not complete, such third parties can be
identified in a corporate capacity until the depositions take place.

(b) ‘Final Lists. Plaintiffs collectively are limited to 20 persons (excluding
experts) on their final trial witness list, and the Defendants collectively are limited to 20 persons
(excluding experts) on their final trial witness list. Each side’s final trial witness list may
identify no more than 5 witnesses that were not identified on that side’s preliminary trial witness
list. If any new witnesses are added to a final trial witness list that were not on that side’s
preliminary trial witness list and not previously deposed, supplemental document discovery may
be conducted with respect to such person(s), even if outside the close of discovery, and any
deposition(s) by the other side of such witness(es) will not count against that other side’s total
depositions. Any document discovery and/or deposition notices of new witnesses on the Parties’
final trial witness lists must be issued within 7 days of service of the final trial witness lists. The
final trial witness lists must comply with Federal Rule of Civil Procedure 26(a)(3)(A)(i)-(ii),
must include the name, employer, address, and telephone number of each witness, and must

include a brief summary of the subjects about which any expert witnesses will testify.

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(c)

General Principles for Witness Lists. In preparing preliminary trial

witness lists, final trial witness lists, and expert disclosures, the Parties must make good-faith

attempts to identify the witnesses whom they expect that they may present as live witnesses at

trial (other than solely for impeachment). No Party may call a person to testify as a live witness

at trial (other than solely for impeachment) unless (i) that person was identified on that Party’s

final trial witness list or the opposing Party’s final trial witness list; (ii) all Parties agree that a

Party may call that person to testify; or (iii) that Party demonstrates good cause for allowing it to

call that person to testify, despite that Party’s failure to identify that person as a trial witness

sooner. Witnesses whose testimony will be offered into evidence at trial through designated

portions of their deposition testimony sha!! be identified on final trial witness lists, however

those witnesses do not count against the limits on the numbers of persons who may be identified

on those lists.

Plaintiffs’ Proposal

Defendants’ Proposed Additional
Language in Paragraph 21(c) Prohibiting
the Affirmative Use of Depositions for
Witnesses Called Live at Trial

[Strike Defendants’ proposed language.]

eposition testimony for impeachni

Plaintiffs’. Position

Defendants Position

Defendants have proposed a blanket ban on
using deposition designations from a witness
who will testify live at trial, with a limited
exception for impeachment. Their proposal is
contrary to the Federal Rules of Civil
Procedure and Federal Rules of Evidence. It
would also hinder the efficient presentation of
evidence to the Court. The Rules provide that
“fa]n adverse party may use for any purpose

Defendants respectfully sibmit that if a
witness testifies live at trial, the Parties can
and should ask any questions they have for
that witness at trial, and the live testimony
would render irrelevant the deposition
testimony of that same witness, except for
impeachment. Defendantq’ commonsense
approach reduces burden dn the Parties (by

not having to designate, cqunter-designate,

. deve tuvtntad ,

be wget

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the deposition of a party or anyone who, when
deposed, was the party’s officer, director,
managing agent, or designee under Rule
30(b)(6) or 31(a)(4),” Fed. R. Civ. P. 32(a)(3)
(emphasis added), and that statements made
by opposing “party’s agent or employee on a
matter within the scope of that relationship
and while it existed” are not hearsay, Fed. R.
Evid. 801(d)(2)(D). Under Rule 32(a)(3), a
party deposition may “be used by an adverse
party regardless of the presence or absence of
the deponent at the hearing or trial and
regardless of whether the deponent is
available to testify or has testified there.” N.
Ins. Co. of N.Y. v. Albin Mfg., Inc., 2008 WL
3285852, at *3 n.4 (D.R.I. Aug. 8, 2008)
(citation omitted and emphasis added). “The
rule is to be liberally construed, and though
the court ‘has discretion to exclude parts of
the deposition that are unnecessarily
repetitious in relation to the testimony of the
party on the stand, it may not refuse to allow
the deposition to be used merely because the
party is available to testify in person.’” Jd.
(quoting 8A Wright et al., Fed. Practice &
Procedure § 2145) (brackets omitted); see
also Cmty. Counselling Serv., Inc. v. Reilly,
317 F.2d 239, 243 (4th Cir. 1963) (“It has
been consistently held that the Rule permits a
party to introduce, as part of his substantive
proof, the deposition of his adversary, and it
is quite immaterial that the adversary is
available to testify at the trial or has testified
there.”) (emphasis added).

Even where a witness testifies live,
designating deposition testimony of that
witness promotes efficiency for the admission
of documents, providing support on
contextual or other background subjects for
pre-trial briefs and opening statements, and
permitting introduction of party admissions
into the record. Defendants’ request fora

counter-counter-designate, object, and
negotiate over designations for a witness who
will appear live) and the Court (by not having
to rule on disputes or take designated
testimony into evidence when the witness will
be in the courtroom). Plaintiffs cite cases that
primarily support the proposition that
deposition testimony is not hearsay and can
be used at trial even when a witness is
available to testify. But Defendants are not
seeking to limit the use of depositions based
on hearsay or witness availability. Rather,
Defendants seek to preclude Plaintiffs from
designating deposition testimony of a witness
who testifies at trial, as it would be highly
redundant. DOJ itself has agreed to the
approach Defendants propose in multiple
other merger matters. U.S. v. Bertelsmann SE
& Co. KGaA et al., No. 21-2886-FYP
(D.D.C.), ECF No. 119-1; U.S. v. Assa Abloy,
et al., No. 1:22-cv-02791-ABJ (D.D.C.), ECF
No. 51. And DOJ agreed to this approach in
the pre-trial order in the NEA action, which
was so-ordered by Judge Sorokin. See
Pretrial Order, United States, et al. v.
American Airlines Group, Inc., et al., No.
1:21-cv-11558-LTS, ECF. 196 at ff 27-31
(providing for the use of all deposition
testimony, whether or not designated, for
cross-examination, impeachment, or rebuttal
purposes and for the use of deposition
designations only as to those not included on
the parties’ final trial witness lists and for any
witness on either side’s final witness list who
neither side will be calling to testify live at
trial).

3 Contrary to Defendants’ characterization, in Northern Insurance the district court admitted deposition testimony
from a party witness who testified live at trial, and in Community Counselling the court of appeals reversed the trial

court for failing to do just that.

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wholesale bar on such party depositions is
contrary to the relevant rules and undermines
judicial economy. It is also premature now, at
the outset of discovery and well before the
parties exchange witness lists.

While Plaintiffs disagree with the Defendants’
characterizations of proceedings in other
cases, including two on the eve of trial, none
of those cases imposed at the outset of a case
the order that Defendants propose here to
modify Rule 32(a(3). Whatever stipulations
the parties may or may not reach after
discovery is concluded, the available evidence
is known and trial is impending, there is no
basis to require such provisions in a Case
Management Order.

22. Demonstrative Exhibits. At least one month before the start of trial, the Parties
agree to meet and confer regarding a protocol for serving demonstrative exhibits on opposing
counsel before the start of any trial day where any such exhibit may be introduced (or otherwise
used) at trial.

23. Service of Pleadings and Discovery on Other Parties. Service of all pleadings,
discovery requests (including subpoenas for testimony or documents under Federal Rule of Civil
Procedure 45), expert disclosures, and delivery of all correspondence in this matter must be made
by ECF if required by applicable rule or otherwise by email, except when the volume of
attachments requires overnight delivery of the attachments or personal delivery, to the following
individuals designated by each Party:

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For purposes of calculating discovery response times, electronic delivery at the time the

24. Proposed Divestitures

email was received will be treated in the same manner as hand delivery at that time.

Plaintiffs’ Proposed Language Regarding
the Timing of Production of Certain
Divestiture Documents |

Defendants’ Proposed Language
Regarding the Timing of Production of
Certain Divestiture Documents

To promote orderly and fair discovery of facfs
relatdl to Defendants’ proposed divestiturg6,
in addition to the two productions contaipfing
all origmal draft agreements and relevayit
correspondence concerning the propoged
divestitures\of Defendants’ assets in/Boston
Logan International Airport, LaGuardia
Airport, Newark Liberty Internatyonal
Airport, and Fort Lauderdale-Héllywood
International Aikport (the “Proposed
Divestitures”) puksuant to CYD No. 31393,
Defendants will produce any additional
documents concerning thé Proposed
Divestitures promptly gfter such documents
are created. Furthermore, within one business
day of entering inté any agreement
concerning the Pfoposed Divestitures,
Defendants wil)/provide Rlaintiffs a copy of
the agreement/ Defendants must produce
such evidenc¢ by or before May 8, 2023.
Defendants shall not be permitted to introduce
or otherwisé rely on documentary evidence
and/or datd concerning the Propoged
Divestitures tendered or generated yfter May
8, 2023 gs such evidence is unfairly
prejudicial under Federal Rule of Evidence
403. This paragraph shall not be construed to
require the exclusion of evidence arising\from
efforfs to comply with future rulings
(ingluding changes in business plans required
to/comply with any such future rulings) in the
{EA Case.

In addition to the two productions containing
all original draft agreements and relevant
correspondence concerning the proposed
divestitures of Defendants’ assets in Boston
Logan International Airport, LaGuardia
Airport, Newark Liberty International
Airport, and Fort Lauderdale-Hollywood
International Airport (the “Proposed
Divestitures”) pursuant to CID No. 31393,
Defendants will produce any additional
documents concerning the Proposed
Divestitures in response to any document
request served under Paragraph 1 0(a).
Furthermore, within one business day of
entering into any agreement concerning the
Proposed Divestitures, Defendants will
provide Plaintiffs a copy of the agreement. If
such agreement has not been entered by May
8, 2023, the Parties will meet and confer, if
necessary, to ensure Plaintiffs have adequate
discovery concerning the divestiture
agreement.

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Plaintiffs’ Position

Defendants’ Position

In merger challenges, Defendants often seek
(1) to remedy or mitigate harms caused by the
merger with collateral agreements to divest
certain assets or rights (the subject of this
paragraph), and (2) to promote benefits they
believe will be realized if the merger is
allowed to proceed (the subject of Paragraph
25). These are fact-intensive inquiries which
are predictable areas of focus at trial. Here,
the present disputes turn on when Defendants
will create and produce a factual record
purporting to support their positions.

Although “divestiture commitments” have
been a keystone of JetBlue’s antitrust defense
for at least eleven months, JetBlue has still
not entered into any agreement to actually
divest those assets. Plaintiffs will be unfairly
prejudiced if JetBlue is allowed to prolong
divestiture negotiations so as to deprive
Plaintiffs of a fair opportunity to take
discovery of Defendants and the actual
divestiture buyers based on any final
divestiture agreements, rather than
Defendants’ currently tentative “plan,” “draft
... agreements” and “proposed terms.”
Plaintiffs accordingly propose a May 8, 2023
cutoff date for divestiture evidence on which
Defendants may rely—the same date that
Defendants themselves propose, and which is
necessary to allow for pertinent party and
third-party fact discovery.

The dispute concerns what occurs if
Defendants fail to meet this deadline.
Plaintiffs believe May 8, 2023 should be a
genuine deadline with real consequences for
non-compliance. Courts in merger cases have
excluded evidence of proposed divestitures
where that evidence is offered unfairly late.
For example, in FTC v. Ardagh Grp., S.A.,
No. 13-1021 (D.D.C.), the court refused to
consider a divestiture that was still being
negotiated while defense witnesses were

Defendants identified the assets to be divested
in the Agreement and Plan of Merger among
JetBlue Airways Corporation, Sundown
Acquisition Corp., and Spirit Airlines Inc. on
July 28, 2022, meaning that Plaintiffs have
long been on notice of the assets that would
be divested. Plaintiffs also already know the
potential buyers of the divestiture assets and
have already sought and received documents
from those potential buyers in the
investigation of the proposed merger. In
addition, Defendants also produced
divestiture-related documents in the
investigation, including correspondence with
the potential buyers and the draft asset
purchase agreements sent by JetBlue to the
potential buyers. This means that the
Plaintiffs know what JetBlue and Spirit plan
to sell, who they plan to sell it to, and the
proposed terms offered for the sale. JetBlue
is currently in negotiations to finalize the
divestiture transactions, and Defendants have
proposed to produce final divestiture
agreements one business day after they have
been signed.

Defendants have agreed to make efforts to
finalize and produce those agreements no
later than May 8, 2023 (the date Plaintiffs
selected as the point by which they wish to
have this discovery) and to discuss with
Plaintiffs how to proceed if those agreements
are not signed by May 8, 2023. Plaintiffs
have rejected this proposal and instead
overreach by seeking a draconian remedy of
complete preclusion of divestiture evidence if
documents are not produced by May 8, 2023.
Plaintiffs’ approach would severely prejudice
Defendants. Plaintiffs essentially seek a
predictive ruling on a motion in limine that
has yet to be filed—before there has been any
indication whether or not they will be
prejudiced. Further, Plaintiffs’ proposal

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being deposed.* Merger case management
orders routinely provide that divestiture
evidence will be excluded under Rule 403 if
not produced well before the end of fact
discovery, as Plaintiffs propose. See ECF 53
at 20-21, United States v. Bertelsmann SE &
Co. KGaA, No. 21-2886 (D.D.C.); ECF

No. 52 at 22, United States v. AON plc, No.
21-1633 (D.D.C.). In another pending merger
case, the schedule provided for “day-for-day”
extensions of fact discovery and other pretrial
deadlines if divestiture documents were not
timely produced, and after divestiture-related
pre-trial disputes, the court extended fact
discovery and, ultimately, delayed the trial.
ECF 46 at 21-22 & 1/18/13 & 4/3/23 Minute
Orders, United States v. ASSA ABLOY AB,
No. 22-cv-2791 (D.D.C.). Here, because the
Court has made clear that its trial date is firm,
Plaintiffs are not seeking potential schedule
extensions as in ASSA ABLOY. Instead,
Plaintiffs request a bright-line rule to keep
this case on track while preventing unfair
prejudice to Plaintiffs from delays within
Defendants’ control. For the same reason, the
Court should reject Defendants’ “wait and
see” approach as inadequate.

would place the Court in the odd position of
having to analyze a merger that by its terms
contemplates divestitures without being able
to fully consider such divestitures if they are
not completed by Plaintiffs’ arbitrary date.
Plaintiffs cite U.S. v. Bertelsmann SE & Co.
KGaA et al., No. 21-2886-F YP (D.D.C.), but
that case is entirely distinguishable as there
were no divestiture or license of assets
reflected in the purchase agreement or at issue
at trial. Here, by contrast, the divestitures are
central. FTC v. Ardagh Grp., S.A., No. 13-
1021 (D.D.C.), is even less relevant. In that
case, the court declined to hear evidence of a
proposed divestiture first presented to the
FTC after the scheduled close of fact
discovery, after expert reports were
submitted, and only three weeks before the
start of the trial—and even then the
defendants had not identified the buyer. In
Assa Abloy, unlike here, the merger
agreement did not require divestitures or
identify the scope of divestitures, and the DOJ
did not know the identity of the divestiture
buyers before filing the complaint.

Defendants recognize that Plaintiffs are
entitled to the final divestiture agreements and
have offered to produce them promptly upon
signing and to meet-and-confer in good faith
should the agreements not be signed by May
8, 2023. Unlike Plaintiffs’ proposal,
Defendants’ approach maintains the ability of
both parties to preserve their rights—
including Plaintiffs’ right to move to exclude
evidence of the divestitures if they can
demonstrate actual prejudice—regarding the
use and admissibility of such evidence and is
also consistent with past practice in other
merger trials.

49/24/13 Tr.at 29, https://www.ftc.gov/sites/default/files/documents/cases/130924ardaghtranscript.pdf.

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25. Alleged Benefits / Network Plan

Plaintiffs’ Proposed Language Regarding
the Timing of Production of Documents
Relating to Alleged Benefits

Defendants’ Proposed Language
Regarding the Timing of Production of
Certain Network Plans

Alleged Benefits. To promote orderly and
fair discovery of facts related to Defendants’
future plans if the Proposed Transaction is or
is not consummated, Defendants will prgduce
plans developed for the combined

etBlue/Spirit network if the Proposed
Tiansaction is consummated or for the
separate JetBlue or Spirit networks ifjthe
Proposed Transaction is not consumsnated
(“NetWork Plans”) and any other fufure plans
for JetBlue/Spirit promptly after they are
developed. Defendants must produce such
evidence By or before May 8, 2923.
Defendants Shall not be permifted to introduce
or otherwise kely on documentary evidence
and/or data cohcerning futur¢ plans for the
purpose of supporting the c/aimed benefits of
the Proposed Transaction gendered or
generated after May 8, 2023 as such evidence
is unfairly prejudicial ynder Federal Rule of
Evidence 403. This paragraph shall not be
construed to require the exclusion of evidence
arising from efforts to somply with future
rulings (including changes in business plans
required to comply/with any such future
rulings) in the NEA Case.

Defendants may seek modifidation of this
provision of the CMO if circutnstances
beyond Defedants’ control, unforeseeable as
of May 8, 2023, require changes to Network
Plans or other future plans. Prior tp moving
for such médification, Defendants raust
promptly produce (within two busindss days
of their£reation) all documents and data
regarding such modification and the reasons
for sfich modification, and make Rule
30(4)(6) deponents available about the
changes at Plaintiffs’ reasonable convenience
(nptwithstanding any other limitations on

Network Plan. Defendants will produce in
response to any document request served
pursuant to Paragraph 10(a) plans developed
for the combined JetBlue/Spirit network if the
Proposed Transaction is consummated or for
the separate JetBlue or Spirit networks if the
Proposed Transaction is not consummated
(“Network Plans”) promptly after they are
developed in the ordinary course of business.
If such Network Plans are not finalized and
produced by May 8, 2023, the Parties will
meet and confer, if necessary, to ensure
Plaintiffs have adequate discovery concerning
them. The Parties recognize that Network
Plans may change as a result of subsequent or
unforeseen events occurring after May 8,
2023. Defendants will promptly produce any
such changes to Plaintiffs, and Plaintiffs
reserve all rights related to discovery and
admissibility of such changes.

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depositions). After such production and
deposition, Defendants may move for
modification of this Order to allow for the
potential admissibility of such evidence only
on a showing of good cause and that Plaintiffs
were not unfairly prejudiced.

Plaintiffs’ Position

Defendants’ Position

Plaintiffs expect Defendants to try to show
benefits of their proposed merger based on
purportedly “ordinary course” documents
about JetBlue’s plans for the combined
airline, as well as documents about JetBlue’s
and Spirit’s contingency plans if the merger is
blocked. For example, JetBlue may try to
rely on a “combined network plan” for the
merged airline to support purported benefits
of the merger. Despite multiple requests
during the government’s pre-complaint
investigation, JetBlue failed to produce a
combined network plan and claimed it was
deferring creating such a plan. This decision
was a tactical choice that impeded the
government’s ability to evaluate JetBlue’s
arguments about consumer benefits. Now
Defendants represent that they expect to
produce their combined network plan by
May 8, 2023.

Plaintiffs ask the Court to hold Defendants to
this deadline to ensure a fair and efficient
trial. Defendants control when they create
their own network plan and other evidence
that the merger is supposedly not harmful,
such as integration plans, fleet plans, and
route/airport entry or exit plans. It would be
unfairly prejudicial for Defendants to rely on
their own internal documents if Defendants
wait until the end of fact discovery (or later)
to create and produce them. Accordingly, as
with divestiture evidence, such evidence
should be excluded under Rule 403 if
Defendants offer it to support their case after
producing it untimely. If there are
unforeseeable changed circumstances,

Defendants plan to produce the combined
network plan in advance of May 8, 2023. But
the airline industry is dynamic and rapidly
developing, and it is possible there could be
updates to the network plan after May 8,
2023. As with the divestiture agreements,
Plaintiffs’ proposal is again overreaching and
seeks to pre-ordain a harsh penalty.
Defendants’ proposal does not extinguish
Plaintiffs’ right to later seek to exclude such
evidence; it merely seeks to prevent the
extraordinary ruling that prejudice will be
presumed at the outset of this case based on
an arbitrary date. The past several years have
taught us that unexpected events can have a
significant impact on travel patterns, and if
something should happen that requires
JetBlue to update the combined network plan
(e.g., a natural disaster severely limits the
ability to fly from an airport one of the
airlines serves), Defendants should be
permitted an opportunity to at least ask the
Court to hear evidence on the changes.
Indeed, Plaintiffs’ own proposal implicitly
acknowledges that changes may be required
based on future events by carving out an
exception for a future event Plaintiffs would
welcome (i.e., an adverse ruling on JetBlue’s
Northeast Alliance with American Airlines).

Defendants should not be forced to
prematurely give up their rights to rely on
such evidence if it is not produced by the
arbitrary date Plaintiffs propose. Accordingly,
Defendants’ proposed provision contemplates
that Defendants will promptly produce any
revised network plans and that they will work

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Plaintiffs’ proposal permits Defendants to
seek to modify this provision if there is good
cause and Plaintiffs are not unfairly
prejudiced.

in good faith to ensure that Plaintiffs have
adequate discovery. Defendants’ proposal
here again is consistent with past practice in
other merger trials and equitably preserves the
rights of both parties with respect to discovery
and the admissibility of such evidence.

26. Nationwide Service of Trial Subpoenas. To assist the Parties in planning

discovery, and in view of the geographic dispersion of potential witnesses in this action outside

this District, the Parties are permitted, under 15 U.S.C. § 23, to issue trial subpoenas that may

run into any other federal district requiring witnesses to attend this Court. The availability of

nationwide service of process, however, does not make a witness who is “unavailable” for

purposes of Federal Rule of Civil Procedure 32 and Federal Rule of Evidence 804 available

under those rules or otherwise affect the admissibility at trial of a deposition of a witness.

27. Modification of Scheduling and Case Management Order. Any Party may

seek modification of this Order for good cause, except that the Parties may also agree to modify

discovery and expert disclosure deadlines by agreement.

Dated: April 6_, 2023

SO ORDERED:

/s/ William G. Young

Hon. William G. Young
United States District Judge

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